         Case 1:19-cr-00018-ABJ Document 344 Filed 02/27/20 Page 1 of 3




                      1IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                        MOTION FOR PERMISSION TO TRAVEL

       Defendant, Roger J. Stone, Jr., files this Motion to request permission to travel with his

family for the birth of their first great-grandchild to Akron, Ohio, located within the Northern

District of Ohio, from March 3, 2020 until March 11, 2020.

       Counsel has communicated with Mr. Stone’s Pretrial Services Officer who has stated

Pretrial Services has no objection to the filing of this motion and requested their office be kept

advised of the Court’s ruling. Mr.   Stone   will   provide   Pretrial   Services   with   detailed

documentation and will contact his Officer immediately upon his return. The Government has

been has also been contacted and has no objection to the requested travel.




                                                1
         Case 1:19-cr-00018-ABJ Document 344 Filed 02/27/20 Page 2 of 3




                                        Respectfully submitted,
                                        By: /s/___________________
ROBERT C. BUSCHEL                      BRUCE S. ROGOW
BUSCHEL GIBBONS, P.A.                  FL Bar No.: 067999
D.D.C. Bar No. FL0039                  TARA A. CAMPION
One Financial Plaza, Suite 1300        FL Bar: 90944
100 S.E. Third Avenue                  BRUCE S. ROGOW, P.A.
Fort Lauderdale, FL 33394              100 N.E. Third Avenue, Ste. 1000
Telephone: (954) 530-5301              Fort Lauderdale, FL 33301
Fax: (954) 320-6932                    Telephone: (954) 767-8909
Buschel@BGlaw-pa.com                   Fax: (954) 764-1530
                                       brogow@rogowlaw.com
                                       tcampion@rogowlaw.com
                                       Admitted pro hac vice

SETH GINSBERG                          GRANT J. SMITH
299 Broadway, Suite 1405               STRATEGYSMITH, PA
New York, NY 10007                     D.D.C. Bar No.: FL0036
Telephone: (212) 227-6655              401 East Las Olas Boulevard
Admitted pro hac vice                  Suite 130-120
                                       Fort Lauderdale, FL 33301
                                       Telephone: (954) 328-9064
                                       gsmith@strategysmith.com




                                       2
         Case 1:19-cr-00018-ABJ Document 344 Filed 02/27/20 Page 3 of 3




                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on February 27, 2020, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

    United States Attorney’s Office for the               Pretrial Services (via email)
            District of Columbia
                                                 CHRISTINE SCHUCK
TIMOTHY J. SHEA                                  PRETRIAL SERVICES OFFICER
United States Attorney                           US District Court Unit
J.P. COONEY                                      Pretrial Services Agency for the District of
JOHN D. CRABB                                    Columbia
Assistant United States Attorney                 333 Constitution Ave NW Suite #2507
555 Fourth Street, NW                            Washington DC 20001
Washington, DC 20530                             Desk: (202)442-1017
Telephone: (202) 252-6886                        Main: (202)442-1000
Fax: (202) 651-3393                              Fax: (202)442-1001




                                                    By: /s/ Robert Buschel
                                                    ROBERT BUSCHEL




                                                3
